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                               UNITED STATES DISTRICT
                              COURT NORTHERN DISTRICT
                              OF OHIO EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                       )       CASE NO.: 1:17-MD-02804
 OPIATE LITIGATION                                  )
                                                    )       JUDGE DAN A. POLSTER
 THIS NOTICE RELATES TO:                            )
                                                    )
                                                    )   MAGISTRATE JUDGE DAVID A. RUIZ
  ALL CASES                                         )



                  NOTICE OF PROCEDURES FOR PUBLIC RECORDS
                          REQUESTS FOR ARCOS DATA

       On March 6, 2018 this Court entered a Protective Order relating to the ARCOS/DADS

data, which applies to all documents or electronically stored information (“ESI”) provided by the

DEA to the Court, counsel, or any parties in the MDL litigation. (See ECF No. 167). In order to

ensure compliance with the Protective Order, Plaintiffs’ Executive Committee (PEC) members

set up procedures for handling Public Records and/or FOIA Requests that clients receive. PEC

member Peter Mougey’s firm, Levin Papantonio Thomas, Mitchell, Rafferty & Proctor, PA,

drafted a template notice to clients outlining the procedures and emailed it to the 635 attorneys

listed as plaintiffs’ counsel for the 427 member cases that are currently consolidated in MDL

2804. All plaintiffs’ counsel were instructed to send a version of the template notice to their

clients. The template notice attached a copy of the Protective Order and cautioned plaintiffs that

documents and/or ESI designated by the DEA as Confidential cannot be disclosed to third

persons. Plaintiffs were instructed to give immediate notice of the receipt of a Public Records

Request by sending an email to ARCOSFOIA@levinlaw.com. This email address is monitored

by PEC members and their staff. PEC members also coordinated with counsel for defendants

and the DEA/DOJ to compile a list of names and email addresses of those persons on behalf of

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the defendants and the DEA who should be notified of Public Records and/or FOIA Requests

received by the MDL plaintiffs in accordance with paragraph 13 of the Protective Order.

       If any plaintiff sends notification of a Public Records and/or FOIA Request to the

designated email address, PEC members will promptly provide notification of the Public

Records and/or FOIA Request to the DEA and defendants at the email addresses provided by the

DEA and defendants. As additional plaintiffs either file in the MDL or are transferred into the

MDL, they will be notified of the protective order and these same procedures.

                                            Respectfully submitted,

                                            /s/ Peter J. Mougey
                                            Peter J. Mougey
                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL,
                                            RAFFERTY & PROCTOR, P.A.
                                            316 S. Baylen Street, Suite 600
                                            Pensacola, FL 32502-5996
                                            Tel.: 850-435-7068
                                            Fax: 850-436-6068
                                            pmougey@levinlaw.com


                                   CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was electronically filed with the U.S. District Court,
Northern District of Ohio, Eastern Division, on March 27, 2018, and served upon all counsel that
have appeared in this matter.

                                            /s/ Peter J. Mougey
                                            Peter J. Mougey




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